 % A 0 245B    (Rev. 12/03) Judgmcnt in a Criminal Case
    NCED       Shcct I




                          Eastern                                     District of                                North Carolina
           UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                 v.
           GARY DEAN CHAVlS                                                    Case Number: 7:07-CR-7-1 BR/7:07-CR-58-1BR
     True Name: Gary Dean Chavis, Jr.
                                                                               U S M Number:70203-056

                                                                               Gale M. Adams
                                                                               Defendant's Attorncy
THE DEFENDANT:
dpleaded guilty to count(s)           1 (7:07-CR-7-1BR) and Count 3 (7:07-CR-58-1BR)

   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                                      Offense Ended       Count
18 USC §922(g)(I) and 924                         Felon in possession of firearms and ammunition                          12/7/2006         1

18 USC §924(c)(l)(B)(ii) and 2                    Possession of a Destructive Device in furtherance of a crime            12/7/2006         3
                                                  of violence and Aiding and Abetting



       The defendant is sentenced as provided in pages 2 through                     6           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
dCount(s)       1 & 2 (7:07-CR-58-1BR)                         is     @ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the Unjted States attorney for this district within 30 da s of any change of name, resjdence,
or mailing address unti1,all fines, restitution,,costs, and special assessmenls imposed by this judgment are fuiiy paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of mater~alchanges In economic circumstances.

 Sentencing Location:                                                          1 11612007
   Raleigh, NC


                                                                              ~ i g n a 6 r eofiudge




                                                                               W. EARL BRITT, SENIOR US DISTRICT JUDGE
                                                                              Name and Ti tlc of Judge




                      Case 7:07-cr-00058-BR                         Document 90                Filed 11/15/07          Page 1 of 7
                                                          e


Gary Dean Chavis                                   Page 10-   of b
7:07-CR-7-1BR/7:07-CR-58-
                     1BR


TRUE NAME: Gary Dean Chavis, Jr.

ALIAS IDENTIFIERS: Garry Dean Chavis
                   Dean Chavis
                    SSN: XXX-XX-XXXX




       Case 7:07-cr-00058-BR       Document 90   Filed 11/15/07   Page 2 of 7
A 0 245B      (Rev. 12/03) Judgment in Criminal Case
    NCED      Sheet 2 -Imprisonment

                                                                                                          Judgment-   Page   2   of   6
 DEFENDANT: GARY DEAN CHAVIS True Name: Gary Dean Cha
 CASE NUMBER: 7:07-CR-7-1 BR/7:07-CR-58-1 BR


                                                                 IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 180 months as to Count 1 (7:07-CR-7-IBR) and
 225 months as to Count 3 (7:07-CR-58-IBR) to be served consecutively with Count 1 (7:07-CR-7-IBR), producing a
 total term of 405 months


           The court makes the following recommendations to the Bureau of Prisons:




    d The defendant is remanded to the custody of the United States Marshal.
        The defendant shall surrender to the United States Marshal for this district:

                at                                     17 a.m.         p.m.     on
                as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before      p.m. on
                as notified by the United States Marshal.        1-1Or
                                                                 L-




        O as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                               to

a                                                       , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              BY
                                                                                                    DEPUTY UNITED STATES MARSHAL




                         Case 7:07-cr-00058-BR                    Document 90            Filed 11/15/07          Page 3 of 7
A 0 245B     (Rev. 12/03) Judgment in a Criminal Case
      NCED   Sheet 3 -Supervised Release
                                                                                                         Judgment-Page      3      of         6
 DEFENDANT: GARY DEAN CHAVIS True Name: Gary Dean Cha
 CASE NUMBER: 7107-CR-7-1BR/7:07-CR-58-1 BR
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
  5 years (5 yrs as to Ct 1 7:07-CR-7-1BR and 5 yrs as to Ct. 3 (7:07;CR-58-IBR, both terms to run concurrently)
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pr~sons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall susmit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
        substance abuse.
        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, lf applicable.)
     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o f l ~ a ~ m e nsheet
                           t s of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
 1.     The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
        officer.
2.      The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
        complete written report within the first five (5) days of each month.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.      The defendant shall support the defendant's dependents and meet other family responsibilities.
5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
        acceptable reasons.
6.      The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
        substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.
8.      The defendant shall not frequent places where controlled substances are illegalty sold, used distributed, or administered, or other
        places specified by the court.
9.      The defendant shall not associate with any persons en aged in criminal activity, and shall not associate with any person convicted of
        a felony unless granted permission to do so by the pro%atlon officer.
 10. The defendant shall permit a robation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
     any contraband observed In pyain view by the probation officer.
 11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
 12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court.

                                                                      r
 13. As directed by the probation officer, the defendant shall noti third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or chayacteristics, and sha 1 perm~tthe probation officer to make such notifications and to c o n f m
     the defendant's compliance w ~ t hsuch notlficatlon requirement.




                          Case 7:07-cr-00058-BR               Document 90           Filed 11/15/07          Page 4 of 7
A 0 245B   (Rev. 12103) Judgment in a Criminal Case
  NCED
           Sheet 3A - Supervised Release
                                                                                           Judgment-Page    4     of         6
DEFENDANT: GARY DEAN CHAVIS True Name: Gary Dean Cha
CASE NUMBER: 7107-CR-7-1BR/7:07-CR-58-1BR

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.




                   Case 7:07-cr-00058-BR              Document 90        Filed 11/15/07         Page 5 of 7
A 0 245B   (Rev. 12/03) Judgmcnt in a Criminal Case
  NCED     Sheet 5 - Criminal Monetarv Penalties
                                                                                                      Judgment - Page     5    of        6
DEFENDANT: GARY DEAN CHAVIS True Name: Gary Dean Cha
CASE NUMBER: 7:07-CR-7-1 BR/7:07-CR-58-1BR
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         -
                                                                         Fine                               Restitution
TOTALS            $ 200.00                                           $                                   $ 36,884.88



     The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

d The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayrnent, unless specified otherwise jn
     the priority order or percentage payment column%elow. However, pursuant to 18 Q s P . 5 3 6 6 4 0 , all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                            Total*              Restitution Ordered Priority or Percentage
 North Carolina State Employees's Credit Union                                  $5,000.00                $5,000.00
 P. 0. Box 2078, Elizabethtown, NC 28337



 Cumis Insurance Society
 5910 Mineral Point Road, Madison, WI 53701




                                  TOTALS                                        $36,884.88


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     6 the interest requirement is waived for the             fine          restitution.
           the interest requirement for the           fine      restitution is modified as follows:



* Findings for the total amount of losses are re uired under Chapters 109A, 1 10, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.


                     Case 7:07-cr-00058-BR                   Document 90               Filed 11/15/07           Page 6 of 7
A 0 245B    (Rev. 12103) Judgment in a Criminal Case
    NCED    Sheet 6 - Schedule o f Pavments

                                                                                                                                   Judgment-      Page        6       of          6
DEFENDANT: GARY DEAN CHAVIS True Name: Gary Dean Cha
CASE NUMBER: 7107-CR-7-1 BR/7:07-CR-58-1BR


                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      [7 Lump sum payment of $                                            due immediately, balance due

                  not later than                                                , Or
                  in accordance               [7 C,         [7 D,         [7      E, or      [7 F below; or

B      [7 Payment to begin immediately (may be combined with                                  C,         12D, or              F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      &( Special instructions regarding the payment of criminal monetary penalties:
            Payment of the special assessment shall be due in full immediately.
            Payment of restitution shall be due and payable in full immediately. However, if the defendant is unable to pay in full immediately, the special assessment and restitution
            may be pa~d   through the Inmate Financial ResponsibilityProgram. The court, having considered the defendant's financial resources and ability to pay, orders that any
            balance still owed at the time of release shall be paid in installments of $50 per month to begin 60 days after the defendant's release from prison. At the time of the
            defendant's release, the probation officer shall take into consideration the defendant's ability to pay the restitution ordered and shall notify the court of any needed
            modificationof the payment schedule.
            Any payment made that is not payment in full shall be divided proportionatelyamong the victime named. However, no further payment shall be required after the sum of the
            amounts actually paid by all defendants has fully covered all of the compensable victim injuries.

Unless the court has express1 ordered otherwise, ifthis judgment imposes imprisonment, a ment ofcriminal monetary penalties is due durin
imprisonment. All cnminarmoneta penalties, except those payments made througR t i e Federal Bureau of Prisons' Inmate ~inanciak
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



&( Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Jody Dwayne Lowery 7:07-CR-58-2                            $36,884.88
       Casey Oxendine     7:07-CR-58-3                            $36,884.88
       Keith Oxendine     7:07-cr-58-4                             $36,884.99

      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the fol!owing order: (1                                 (2) restitution principal, (3) restjtution interest, (4) fine principal,
(5) fine Interest, (6) community restltutlon, (7) pena                              costs, ~ncludlngcost of prosecution and court costs.


                       Case 7:07-cr-00058-BR                               Document 90                    Filed 11/15/07                   Page 7 of 7
